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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CYNTHIA TAYLOR et al
                        Plaintiff,
             v.                                           CIVIL ACTION NO. 22-3674
 CURTIS LYNN MYERS et al
                        Defendant.




                                             ORDER

       AND NOW, this 13th day of October 2022, it is hereby ORDERED that a Rule 16

Scheduling Conference in the above-captioned case will be held by telephone conference on

Thursday, October 27th, 2022, at 3:30pm. Please use the following call-in telephone number

to be connected to the conference: Phone: 1-866-434-5269, Passcode: 3579586#.

       Counsel should consult Judge Rufe’s Policies and Procedures (available at

http://www.paed.uscourts.gov) prior to the teleconference. If trial counsel is attached for trial in a

court of record prior to the time of the teleconference, counsel should advise the Judge and

opposing counsel in writing at the earliest possible date, and another attorney in such trial

counsel’s office should participate in the teleconference. Any attorney participating in the

teleconference shall have evaluated the case for settlement purposes and have settlement

authority from the client. Counsel should be prepared to present argument on any and all motions

that are pending at the time of the teleconference. Counsel must enter their appearance in the

case prior to the teleconference.




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       The parties are required to confer and develop a proposed discovery plan pursuant to

Federal Rule of Civil Procedure 26(f). The proposed discovery plan should also advise the Court

whether the parties would like to attempt some form of alternative dispute resolution, and if so,

whether they would like to do so early or at the conclusion of discovery. The Rule 26(f) report

shall be filed one week prior to the scheduled teleconference.

       Failure to comply with these directives may result in the imposition of sanctions. The

teleconference will be continued to another date only under exceptional circumstances.


       It is so ORDERED.

                                             BY THE COURT:

                                             /s/ Cynthia M. Rufe, J.
                                             ________________________
                                             CYNTHIA M. RUFE, J.




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